                        Case 4:12-cr-00246-DPM Document 650 Filed 11/04/13 Page 1 of 5
A0245B        (Rev. 09/ll) Judgment in a Criminal Case
              Sheet l



                                          UNITED STATES DISTRICT COURIM                                                 ~ov 04 2013
                                                               Eastern District of Arkamas                   By:   ,~RK
                                                                           )                                                             DEP    LERK
              UNITED STATES OF AMERICA                                     )          JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                           George Ezell                                    )
                                                                           )          Case Number: 4:12-cr-246-DPM-28
                                                                           )          USM Number: 27264-009
                                                                           )
                                                                           )          Lott Rolfe IV
                                                                                      Defendant's Attorney
THE DEFENDANT:
Itpleaded guilty to count(s)           59 of the Indictment.
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended
 21 u.s.c. § 843(b)                Using a communication facility to facilitate committing a
                                   drug offense, a Class E felony                                             4/27/2012                   59



       The defendant is sentenced as provided in pages 2 through                  5
                                                                           - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!i(count(s)      1 and 60 of the Indictment              D is       itare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da)':s of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                               11/1/2013
                                                                           Date of Imposition of Judgment




                                                                           Sign~~·
                                                                               D.P. Marshall Jr.                        U.S. District Judge
                                                                           Name and Title of Judge



                                                                           Date
                            Case 4:12-cr-00246-DPM Document 650 Filed 11/04/13 Page 2 of 5
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 4-Probation
                                                                                                             Judgment-Page   -=2- of            5
DEFENDANT: George Ezell
CASE NUMBER: 4: 12-cr-246-DPM-28
                                                                  PROBATION
The defendant is hereby sentenced to probation for a tenn of :

 3 years.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall sul:imit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as detennined by the court.
 D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as direc~ed by the probatiOn offi9er, the Bureav of Prisons, or any state sex offender registration agency in which he or she resides,
          works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgll).el).t imposes a fme or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this JUdgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any persons engag_ed in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pennission to do so by the probation officer;
  10)      the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
           contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the d~fe.ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
            penntsston of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                           Judgment-Page   3     of         5
DEFENDANT: George Ezell
CASE NUMBER: 4:12-cr-246-DPM-28

                                        SPECIAL CONDITIONS OF SUPERVISION
 81) Ezell shall participate, under the guidance and supervision of the probation officer, in a substance abuse treatment
 program which may include testing, outpatient counseling, and residential treatment.

 82) Ezell shall perform 150 hours of community service (50 hours per year) over the course of his probation as directed by
 the probation officer. The location for the community service will be determined by the probation officer.
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AO 245B   (Rev. 09/ll) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                      4_ of
                                                                                                     Judgment- Page _ _                5
DEFENDANT: George Ezell
CASE NUMBER: 4:12-cr-246-DPM-28
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                               Restitution
TOTALS            $ 100.00                                               $                                 $



D The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately pro])ortioned payment, unless specified otherwise in
     the prioricy order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                                                 Total Loss*      Restitution Ordered Priority or Percentage




TOTALS                                      0.00
                                    $ -------                                    $                  0.00
                                               -                                     ---------
D     Restitution amount ordered pursuant to plea agreement $
                                                                             -------------------
D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the              D fine        D restitution.
      D the interest requirement for the             D   fine    D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before April23, 1996.
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AO 2458   (Rev. 09/ll) Judgment in a Criminal Case
          Sheet 6- Schedule of Payments
                                                                                                              Judgment- Page ---""5- of                5
DEFENDANT: George Ezell
CASE NUMBER: 4:12-cr-246-DPM-28

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri/ Lump sum payment of$ _10_0_._0_0_ _ _ _ due immediately, balance due
           D    not later than
                               - - - - - - - - - - - , or
           0    in accordance      D C, D D, D E, or                           D F below; or
B    D Payment to begin immediately (may be combined with                   D C,        D D, or       D F below); or
C    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet!")' penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
